           Case 1:19-cv-10219-PBS Document 12 Filed 09/23/19 Page 1 of 3




                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS


LEONITUS JABIR BEY,                                       C.A. NO.: 19-10219- PBS
     Plaintiff,

v.

DAVID PENDER,
     Defendant


                                    ANSWER AND JURY CLAIM


         1. The defendant denies the allegations contained in the Complaint, and denies all of

             the allegations contained in all papers filed by the plaintiff including affidavits,

             witness statements and documents purporting to support federal jurisdiction.



                                      AFFIRMATIVE DEFENSES



     1. The Plaintiff’s claims are barred by Heck v. Humphrey, 512 U.S. 477, 114 S. Ct. 2364 (1994)

     2. The Plaintiff’s claims are barred by judicial estoppel.

     3. The complaint fails to state a claim upon which relief can be granted, as a result of which,

         this action should be dismissed with prejudice and with costs to the Defendant,

         specifically but not limited to the plaintiff’s failure to assert a viable or plausible federal

         question, or claim of federal jurisdiction.

     4. The Complaint must be dismissed for lack of subject matter jurisdiction.

     5. The Plaintiff is estopped by his conduct from recovering on his claim.
       Case 1:19-cv-10219-PBS Document 12 Filed 09/23/19 Page 2 of 3



6. The Defendant says that the injuries or damages alleged were caused in whole or in part

     by the Plaintiff’s conduct.

7. The Defendant says that the injuries or damages alleged were caused in whole or in part

     by the violation by the Plaintiff of the various statutes, ordinances and regulations

     governing the conduct of the parties at the time said injuries or damages were sustained.

8. The Defendant is entitled to qualified immunity.

9.   The Defendant says that the Plaintiff was rightly detained and that the detention was for

     a reasonable period of time.

10. The Defendant states that at all times relevant hereto he acted without malice toward the

     Plaintiff and that his actions relative to the Plaintiff were privileged by virtue of his

     acting reasonably and in good faith within the scope of their authority as a Police officer.

11. The Defendant has qualified immunity from this suit as the alleged acts complained of

     occurred within the scope of the Defendant’s official duties and the Defendant has no

     knowledge that said alleged acts were illegal and/or unconstitutional nor were said

     alleged acts clearly violative of the Plaintiff's rights at the time that they were committed.

12. The Defendant says that when the Plaintiff was arrested there was probable cause for

     making the arrest and the Defendant was justified in so doing.

13. The Plaintiff has failed to state a cause of action under 42 U.S.C. section 1983 because

     the Plaintiff has suffered no deprivation of due process in that law affords the Plaintiff an

     adequate remedy.


                                     JURY CLAIM

     The Defendant Demands a jury trial.
        Case 1:19-cv-10219-PBS Document 12 Filed 09/23/19 Page 3 of 3



                                             The Defendant,

                                             By his attorney,

                                             /s/Bradford N. Louison
                                             _____________________________
                                             Bradford N. Louison, Esq. BBO#305755
                                             blouison@lccplaw.com
                                             Louison, Costello, Condon & Pfaff, LLP
                                             101 Summer Street
                                             Boston, MA 02110
                                             (617) 439-0305
Date: September 23, 2019

                               CERTIFICATE OF SERVICE


      I hereby certify that on this day, I caused the foregoing to be served by first class mail to:

                                           Leonitus Jabir Bey
                                            P.O. Box 1934
                                          Lowell, Mass 01854


                                                     /s/ Bradford N. Louison

                                                     Bradford N. Louison

Date: September 23, 2019
